
The People of the State of New York, Respondent,
againstDerek Sloane, Appellant.




Dutchess County Public Defender (William Gee, Esq.), for appellant.
Dutchess County District Attorney (Kirsten A. Rappleyea , Esq.), for respondent.

Appeal by defendant from two judgments of the Justice Court of the Town of Wappinger, Dutchess County (Carl S. Wolfson, J.), rendered March 19, 2015. Each judgment convicted defendant, upon his plea of guilty, of criminal possession of stolen property in the fifth degree. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the appeal is held in abeyance, the application by assigned counsel for leave to withdraw as counsel is granted, and new counsel is assigned pursuant to article 18-B of the County Law to prosecute the appeal;
Azra Rayches Feldman, Esq.
626 Reckson Plaza
West Tower, 6th Floor
Uniondale, NY 11556 
New counsel is directed to serve and file a brief within 90 days after the date of this decision and order. The People may serve and file a respondent's brief within 21 days after the service upon them of the appellant's brief. Appellant's new counsel, if so advised, may serve and file a reply brief within seven days after service of the respondent's brief. Relieved counsel is directed to turn over all papers in his possession to the newly assigned counsel.
Assigned counsel submitted a brief in accordance with Anders v California (386 US 738 [*2][1967]), setting forth his conclusion that there exist no nonfrivolous issues that could be raised on appeal. An independent review of the record, however, reveals that a nonfrivolous issue exists as to whether one of the felony complaints, charging defendant with criminal possession of stolen property in the fourth degree (Penal Law § 165.45 [2]) for possessing stolen credit cards, was properly converted to a misdemeanor information so as to effectuate the reduction of that felony charge (see CPL 180.50 [3] [a] [iii]) to criminal possession of stolen property in the fifth degree (Penal Law § 165.40). We therefore grant assigned counsel's motion to withdraw as counsel, and, in light of the risk inherent in the issue regarding the lack of notations to the felony complaint (see People v Spooner, 22 Misc 3d 136[A], 2008 NY Slip Op 52664[U] [App Term, 2d Dept, 9th &amp; 10th Jud Dists 2008]), we assign new counsel to ascertain whether defendant desires to raise the issue set forth above and to prosecute the appeal on defendant's behalf with respect to this issue or any other issue that can be identified.
MARANO, P.J., TOLBERT and BRANDS, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 16, 2017










